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                          Exhibit A
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                                         Service Performance   Quality       Reliability



        April 16, 1972                                    RECEIVED                    Information totter - HT-166
                                                                                                           1«:
                                                           MIS -*                                          Hoidm m taoTV'
        SUBJBCTi          SUPPLY PYRANOL                                                                   fUt IMS uns«r

                                                        EDWARD L DOBBINS

        TO:        FIELD SALES DISTRICT MANAGERS
                 . FIELD SALES ENGINEERS                  .                                • "'   .    '         .           '
                   PLUS SELECTED PRODUCT DEPARTMENT SALES MANAGERS,
                        INTERNATIONAL SALES DIVISION, FASO, USB 6
        .       •       SERVICE SHOP PERSONNEL                 .                                                                     •

        Sine* earl/ 1970, Monsanto Chemical Company, sole supplier of P/ranol, has advised
        that this material, under the generic term eskarel, contains pol/chlorinated bi­
        phenyls (PCB), Polychlorinated biphenyls are highly stable compounds and are not
        readily blodegradeable. Therefore, when placed in the environment, they may be
        considered contaminants and may adversely affect some species of animal and marine
        life.

        At that time all customers were advised through Sales Channels to take every pre­
        caution to provent any entry of this material Into the environment through spills,
        usage, leakage, disposal, vaporization or otherwise.                   '           .
            •                              •                             .      •

        In the past we have supplied Pyranol to transformer repair shops, and to companies
        requiring these products for top-up of existing transformers, pyranol was also
        available from Monsanto under GE Specification A13B3B without restriction regard­
        ing its usage.                                                             '
                   .                                        •             %                .
        These sales have been discontinued by Monsanto as of January 15, 1972, except to
        those who have entered~lnto special agreement to indemnify Monsanto with respect
        to this product for use In transformers.   ,

        Ceneral. Electric has agreed to Indemnify Monsanto for this use, as have several
        Other major manufacturers. Some manufacturers have chosen not to indemnify
        Monsanto and have decided to discontinue manufacturing askarel-filled transformers.

        The Medium Transformer Products Department will be the only supplier of GB trans­
        former Pyranol effective Immediately. This is further defined as follows:

                    1. .All orders for supplying Pyranol for all General Electric Company
                        Pyranol transformers will be placed on the Medium. Transformer                               _           ■
                '       Products Department, Rome, Georgia.          .                                               '

                    2.   MTPD, Rome, may ship direct to customer or from Monsanto Chemical
                         Company when circumstances warrant such shipment, hut orders will
                         always be placed on Rome.                                                                       •
                             7   -   r                                                     MHMC       AQ 7ARQ
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                                                                  - -


                      S.       Skies by Rons ere only for use In askarel-filled transformers in­
                               cluding repair and maintenance of any askarel-filled transformer,
                               and for use in any new GE-manufactured transformer.

                     4.        Bulk tales for askarel-filled transformers only will be made to the
                               following customer classes:

                                     •)   Utilities.
                                     b)   Industrial and other customers for their own uso.
                                     c)   Service shops for transformer use only.
                                                .                             •      '

                     5.        Sales will not be made to:                                   .

                          .          a)   External OEM's fox their own use.            .     -
                                     b)   Distributors for resale.                     '
                                     e)   Othor external customers for resale, except for an
                                          independent Service Shop to fulfill e service con­
                                          tract on their customer's transformer.     .

                     6.       All bulk orders to MTPD. Rome, from external customers must be
                              acknowledged with the attached statement.           .

              All Sales Departments must not only Include this Indemnification Clause but state        .
              on the customer's purchase order and the GB requisition that the material is for
              transformer use only, before the order will be fulfilled by the Medium Transformer
              Products Department.                             -           •

              Other fluids for transformer use are presently under study which exhibit a higher
              degree of environmental compatibility. Studies Indicate thet some of these ere
              feasible for use in transformers. However, until these materials have been proven
              suitable for transformer use, the above policy will remain in effect.

              In the meantime. Handbook Section 5713, pages                 1,'i,
                                                                  end 3 have been withdrawn end
              are being reviewed by the Medium Transformer Products Department, Rome, Georgia.
                                                           *            .                  %       '

              Please refer all requests fox quotations on supplying Pyrenol to:                    "

                                                H. 3, Pinson
                                                Specialist - Product Service
                                                Medium Transformer Products Department
                                                Rome, Georgia 30161     .
    ■I



              R. N. FRAHM
              MANAGER-MARKETING

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              Attach.
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